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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 MOVADO GROUP, INC. AND
 MOVADO LLC,

                  Plaintiffs,

 v.                                                  CIVIL ACTION NO. 1:19-cv-03544

                                                     District Judge Ronald A. Guzman
 Aaawatch007, et al.,                                Magistrate Judge Jeffrey Cummings

                  Defendants.

                                   NOTICE OF DISMISSAL
        Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiffs dismiss this action

with prejudice as to the following Defendants:


               Defendant’s Name                                Line of Schedule A


 bestseller2046                                                         53


 bestseller2046watch                                                    55


 Boniskissco                                                            52


 ebuy.store                                                             51


 elegantwatchesga                                                       56


 fashionsaleus                                                          57


 greetingss                                                             50




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 JewelryWe                                                         28


 juzar_tapal                                                       54


 Meiyu Fashion Watches                                             26


 Paymenow                                                          25



These Defendants have neither served an answer or a motion for summary judgment.




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Dated: September 24, 2019


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                                         AND MOVADO LLC




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